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     Jan David Karowsky
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 3   Sacramento, CA 95811
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 4
     (916) 448-0265
 5   KarowskyLaw@sbcglobal.net

 6   Attorney for Defendant
     Manuel Keith
 7
                             IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                      )       No. CR-S-11-190 MCE
                                                    )
11                                                  )
             Plaintiff,                             )       STIPULATION REGARDING
12                                                  )       EXCLUDABLE TIME PERIODS
     v.                                             )       UNDER SPEEDY TRIAL ACT;
13                                                  )       FINDINGS
     NICHOLAS RAMIREZ, et al.,                      )
14                                                  )       Date: November 7, 2013
                                                    )       Time: 9:00 a.m.
15           Defendants.                            )       Judge: Honorable Morrison C. England, Jr.
                                                    )
16                                                  )
                                                    )
17
             The United States of America through its undersigned counsel, Jason Hitt, Assistant
18

19   United States Attorney, together with counsel for defendant Nicholas Ramirez, Michael B.

20   Bigelow, Esq., counsel for defendant Ung Duong, Michael L. Chastaine, counsel for defendant
21
     Phat Nguyen, Michael D. Long, Esq., counsel for defendant Justin Nonoguchi, Christopher R.
22
     Cosca, Esq., counsel for defendant Manuel Keith, Jan D. Karowsky, Esq., counsel for defendant
23

24
     Tiffany Brown, Dina L. Santos, Esq., and counsel for defendant Andre Cawthorne, Scott L.

25   Tedmon, Esq., hereby stipulate to the following:
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          1. By previous order, this matter was set for status conference on November 7, 2013.
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        2. By this stipulation, defendants now move to continue the status conference until January
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 2   9, 2014 and to exclude time between November 7, 2013 and January 9, 2014 under the Local

 3   Code T-2 and T-4.
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        3.   The parties agree and stipulate, and request the Court find the following:
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             a. This case was the product of a lengthy investigation in which wiretaps were utilized
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 7
                on multiple telephones. The government has produced discovery which to date

 8              includes 1,952 pages containing wiretap applications, periodic reports, and
 9              investigative materials. Additionally, the government has provided defense counsel
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                with voluminous wiretap conversations. Given this large volume of discovery, the
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                defense counsel needs additional time to review the discovery and consult with their
12

13              respective clients. Additionally, a continuance now will provide the government and

14              defense counsel the final needed time to negotiate and hopefully, finalize, plea
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                agreements. Further, relative to at least one defendant, certain additional laboratory
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                reports are still to be discovered.
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             b. It is expected that the government will be able to provide plea agreements to almost
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19              all defendants and guilty pleas are hoped to be entered at the next status conference.

20           c. The Government does not object to the continuance.
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             d. Based on the above-stated findings, the ends of justice served by granting the
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                requested continuance outweigh the best interests of the public and the defendants in
23

24
                a speedy trial within the original date prescribed by the Speedy Trial Act.

25           e. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
26              Section 3161(h)(7)(A) within which trial must commence, the time period of
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                November 7, 2013 to January 9, 2014 inclusive, is deemed excludable pursuant to 18
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                United States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to
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 2              Local Code T-2 and T-4 because it results from a continuance granted by the Court at

 3              defendant’s request on the basis of the Court’s finding that the ends of justice served
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                by taking such action outweigh the best interest of the public and the defendant in a
 5
                speedy trial.
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the

 8          Speedy Trial Act dictate that additional time periods are excludable from the period within
 9          which a trial must commence.
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       5. All attorneys have authorized Jan Karowsky to sign their names to the instant stipulation.
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12   IT IS SO STIPULATED.

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14
     Dated: November 5, 2013                                      /s/ Michael B. Bigelow
15                                                                MICHAEL B. BIGELOW
                                                                  Attorney for Defendant
16
                                                                  Nicholas Ramirez
17
     Dated: November 5, 2013                                      /s/ Michael L. Chastaine
18                                                                MICHAEL L. CHASTAINE
                                                                  Attorney for Defendant
19
                                                                  Ung Duong
20
     Dated: November 5, 2013                                      /s/ Michael D. Long
21                                                                MICHAEL D. LONG
                                                                  Attorney for Defendant
22
                                                                  Phat Nguyen
23
     Dated: November 5, 2013                                       /s/ Christopher R. Cosca
24                                                                CHRISTOPHER R. COSCA
25
                                                                  Attorney for Defendant
                                                                  Justin Nonoguchi
26
     Dated: November 5, 2013                                       /s/ Jan D. Karowsky
27                                                                JAN D. KAROWSKY
28
                                                                  Attorney for Defendant
                                                                  Manuel Keith


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 1
     Dated: November 5, 2013                        /s/ Dina L. Santos
 2                                                  DINA L. SANTOS
                                                    Attorney for Defendant
 3                                                  Tiffany Brown
 4

 5   Dated: November 5, 2013                        /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
 6                                                  Attorney for Defendant
 7
                                                    Andre Cawthorne

 8

 9

10
     Dated: November 5, 2013                        Benjamin B. Wagner
                                                    United States Attorney
11
                                                    by:/s/ Jason Hitt
12
                                                    JASON HITT
13                                                  Assistant U.S. Attorney

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15
                                        ORDER

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            IT IS SO ORDERED.
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     Dated: November 6, 2013
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